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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 IMPLICIT, LLC,                                  §
      Plaintiff,                                 §
                                                 §
 v.                                              §
                                                 §
 IMPERVA, INC.                                   §
                                                          Case No. 2:19-cv-00040-JRG-RSP
                                                 §
                                                                    LEAD CASE
                                                 §
 FORTINET, INC.                                  §
                                                          Case No. 2:19-cv-00039-JRG-RSP
                                                 §
                                                 §
 JUNIPER NETWORKS, INC.                          §
                                                          Case No. 2:19-cv-00037-JRG-RSP
                                                 §
                                                 §


  UNOPPOSED MOTION TO WITHDRAW HOSIE RICE LLP AND ITS ATTORNEYS AS
                COUNSEL OF RECORD FOR IMPLICIT, LLC
        Pursuant to Local Rule CV-11(c), Plaintiff Implicit, LLC (“Plaintiff” or “Implicit”) files

 this unopposed motion to withdraw Spencer Hosie, Diane S. Rice, Brandon C. Martin, Darrell Rae

 Atkinson, Francesca Miki Shima Germinario, and the firm Hosie Rice LLP (collectively, “Hosie

 Rice”) as counsel of record for Implicit in the above-captioned cases. Hosie Rice also requests

 that it be removed from the CM/ECF noticing list, and any other service lists in the above-

 captioned cases. No other changes are requested regarding other attorneys acting as counsel of

 record for Implicit.

        Implicit will continue to be represented in the above-captioned cases by William E. Davis,

 Christian J. Hurt, Edward Chin, Debra Coleman, and Ty William Wilson of The Davis Firm, PC.

 The withdrawal of Hosie Rice will not delay the proceedings.

        Hosie Rice has conferred with counsel of record in this action, who do not oppose the relief

 requested in this motion.

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       Therefore, Implicit requests that the Court withdraw Hosie Rice as counsel of record from

 Case Nos. 2:19-cv-00040-JRG-RSP, 2:19-cv-00039-JRG-RSP, and 2:19-cv-00037-JRG-RSP.

  Dated: January 10, 2020                       Respectfully submitted,

                                                By: /s/ Spencer Hosie___
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                                                    Counsel for Plaintiff Implicit, LLC

                                CERTIFICATE OF CONFERENCE

        Pursuant to Local Rules CV-7(h) and (i), I hereby certify that I conferred with counsel of

 record on January 10, 2020, regarding the subject matter of this Motion. There was no opposition

 to the above motion.

                                                       /s/ Brandon C. Martin (with permission)
                                                       Brandon C. Martin


                                    CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document is being filed electronically in compliance

 with Local Rule CV-5(a). As such, this document is being served on all counsel who are deemed to have

 consented to electronic service. Local Rule CV-5(a)(3)(V) on this, the 10th day of January, 2020.

                                                       /s/ Spencer Hosie
                                                       Spencer Hosie




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